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                         UNITED STATES DISTRICT COURT

                        WESTERN DISTRICT OF LOUISIANA

                                 LAFAYETTE DIVISION


 HECTOR OVALLE                                 :    DOCKET NO. 2:07-cv-1905
                                                    Section P

 VS.                                           :    JUDGE DOHERTY


 SECRETARY MICHAEL                             :    MAGISTRATE JUDGE HILL
 CHERTOFF, ET AL.

                         REPORT AND RECOMMENDATION

       Currently before the court is a petition for writ of habeas corpus filed on behalf of

petitioner, Hector Ovalle, pursuant to 28 U.S.C. § 2241. This matter has been referred to

the undersigned magistrate judge for review, report, and recommendation in accordance

with 28 U.S.C. § 636(b)(1)(B).

       Petitioner alleges that he entered the United States in 1991 without inspection, and

that he has never been convicted of any crimes in the United States. However, on March

31, 1994, he was ordered deported to Guatemala, in absentia, by an Immigration Court in

Los Angeles, California. He alleges that he was never provided notice of the

deportation/removal proceeding and hence, that his deportation/removal order was

entered in violation of his right to due process.

       Petitioner further alleges that he filed an application for asylum while residing in

California, pursuant to which he was issued an employment authorization on June 10,

1994, his last such authorization expiring November 7, 2007. In California, petitioner’s
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application was assigned alien number 70-639-896. After filing for asylum, petitioner

moved to New Jersey. Petitioner alleges that his asylum application was assigned a

different alien number when considered in New Jersey, alien number 72-418-976.

Petitioner alleges that immigration authorities had notice of his change of address because

he included his New Jersey address on his employment authorization applications, and

went to the New Jersey Office in person, yet he was never informed that he was in

removal proceedings, that a hearing had been set at which he was not present or that an in

absentia order had been issued against him.

       Petitioner states that he was not granted an interview on his asylum application

until July 3, 2007. When he appeared for the interview, petitioner was arrested by

immigration officials and subsequently detained. Petitioner alleges that his arrest was his

first notice that deportation/removal proceedings had been instituted against him.

       Petitioner married a United States citizen in 2002. A marriage based petition was

approved on November 26, 2003. Hence, petitioner alleges that he is now eligible to

adjust his status to that of a permanent resident.

       After his arrest by immigration authorities, on or about August 3, 2007, petitioner

retained counsel who submitted a Motion to Reopen petitioner’s deportation proceedings

on grounds that petitioner’s deportation order had been entered without proper notice in

violation of his due process rights and change of circumstance as a result of his marriage




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to a United States citizen.1 By notice dated August 24, 2007, the Motion was returned to

petitioner’s counsel because it did not contain a proper certificate of service. By letter

dated October 25, 2007, petitioner’s counsel resubmitted the Motion to the Los Angeles

Immigration Court for filing. Petitioner contends that pursuant to 8 C.F.R. § 1003.24(ii),

his filing of the Motion to Reopen automatically stayed execution of his in absentia

removal order.

         On October 23, 2007, petitioner was transferred to Oakdale, Louisiana. He was

deported to Guatemala on October 27, 2007.

         By Order dated November 7, 2007, the Immigration Court in Los Angeles,

California granted petitioner’s Motion to Reopen his deportation proceedings.

Accordingly, a hearing before the immigration judge is scheduled for February 27, 2008.

         On November 14, 2007, petitioner filed a petition seeking federal habeas corpus

relief in this court.2 In this habeas petition, petitioner claims that his in absentia removal

order is invalid because the Immigration Court in California ordered petitioner to be



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           Petitioner also filed a petition for federal habeas corpus relief in the United States District Court for the
District of New Jersey. See Ovalle v. Department of Homeland Security, 2:07-cv-3498 (D.N.J. 2007). Review of
that action reveals that the petition was dismissed without prejudice on August 15, 2007 for failure to comply with
the Court’s Order to provide documentation in support of petitioner’s claim. Review of petitioner’s submissions in
that court reveals that petitioner’s counsel originally filed petitioner’s Motion to Reopen using alien number 72-
418976. However, by correspondence dated July 30, 2007, the Motion was returned because the court had no record
of that alien number. Petitioner’s counsel attempted to re-file petitioner’s Motion to Reopen on August 3, 2007 using
alien number 70-639-896. However, as noted above, that Motion was again returned for failure to include a
certificate of service.

         2
           Initial review of the petition was delayed because petitioner’s counsel was not admitted to practice before
this court and his Motions for pro hac vice status did not comply with the rules of this court. [see rec. docs. 2, 3, 6, 8
and 10]. These deficiencies were corrected when petitioner retained local co-counsel and petitioner’s original
counsel was granted pro hac vice status by Order dated January 29, 2008. [see rec. doc. 12 and 13].

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deported without providing petitioner with proper notice in violation of his right to due

process. He further contends that his subsequent removal pursuant to the invalid in

absentia removal order was improper because of his pending Motion to Reopen. Thus,

petitioner contends that his removal Order and resulting removal pursuant to that Order

are unconstitutional.

         On November 27, 2007, petitioner filed a “Manifestation and Motion” wherein

petitioner requests that his habeas corpus petition be granted and that this court order the

respondents to permit petitioner to re-enter the United States, at the government’s

expense, so that he may appear before the immigration court in California.3

                                          LAW AND ANALYSIS

Jurisdiction

         As a threshold matter, this court must consider its jurisdiction to review

petitioner’s challenge to his removal order.

         On May 11, 2005, President Bush signed into law the “REAL ID Act of 2005. See

Pub.L.No.109-13, Div. B, 119 Stat. 231.4 Section 106 of this Act specifically addresses

judicial review of removal orders. Section 106(a) of the REAL ID Act of 2005 amends




         3
          Like his original petition, this Motion was not referred for review until the deficiencies noted above in
footnote 2 were corrected after petitioner retained local co-counsel and petitioner’s original counsel was granted pro
hac vice status by Order dated January 29, 2008. [see rec. docs. 4, 10, 12 and 14].

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          The “Real ID Act of 2005" is Division B of the “Emergency Supplemental Appropriations Act for
Defense, the Global W ar on Terror, and Tsunami Relief, 2005" (Public Law 109-13).

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INA § 242(a)5 to clarify that a petition filed in the appropriate court of appeals in

accordance with § 242 is the sole and exclusive means for obtaining judicial review of an

order of removal and that a petition for writ of habeas corpus is not an appropriate

vehicle for challenging a removal order. These jurisdictional amendments became

effective upon enactment of this Act and are retroactively applicable regardless of the

date of the final administrative order. See § 106(b)6 ; Rodriguez-Castro v. Gonzales, 427

F.3d 316, 319 (5 th Cir. 2005) citing § 106(b); Balogun v. Attorney General, 425 F.3d

1356, 1360 (11 th Cir. 2005). Thus, the Fifth Circuit has repeatedly held the REAL ID Act

has divested federal district courts of jurisdiction over § 2241 petitions attacking removal

orders. See Hernandez-Castillo v. Moore, 436 F.3d 516, 518 (5th Cir.2006) (REAL ID

Act explicitly forecloses habeas review of removal orders); Ramirez-Molina v. Ziglar,

436 F.3d 508, 511-512 (5th Cir.2006); Rosales v. Bureau of Immigration & Customs

Enforcement, 426 F.3d 733, 736 (5th Cir.2005), cert. denied, 126 S.Ct. 1055 (2006) (after

REAL ID Act, appellate court is now exclusive forum for challenge to removal order);


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          Section 106(a)(1)(A)(iii) of the Real ID Act adds the following language to INA § 242(a):
(5) EXCLUSIVE MEANS OF REVIEW .-- Notwithstanding any other provision of law (statutory or nonstatutory),
including section 2241 of title 28, United States Code, or any other habeas corpus provision, and sections 1361 and
1651 of such title, a petition filed in the appropriate court of appeals in accordance with this section shall be the sole
and exclusive means for judicial review of an order of removal entered or issued under any provision of this Act,
except as provided in subsection (e). For purposes of this Act, in every provision that limits or eliminates judicial
review or jurisdiction to review, the terms “judicial review” and “jurisdiction to review” include habeas corpus
review pursuant to section 2241 of title 28, United States Code, or any other habeas corpus provision, sections 1361
and 1651 of such title, and review pursuant to any other provision of law (statutory or nonstatutory). codified at 8
U.S.C. § 1252(a)(5).

         6
           Section 106(b) of the Real ID Act states as follows:
(b) EFFECTIVE DATE--The amendments made by subsection (a) shall take effect upon the date of enactment of
this division and shall apply to cases in which the final administrative order of removal, deportation, or exclusion was
issued before, on, or after the date of enactment of this division.

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Ariwodo v. Gonzales, 245 Fed.Appx. 403, 406 (5 th Cir. 2007) citing Andrade v. Gonzales,

459 F.3d 538, 542 (5th Cir.2006), cert. denied, --- U.S. ----, 127 S.Ct. 973, 166 L.Ed.2d

739 (2007) (the Real ID Act “‘divest[ed] the district courts of jurisdiction over the habeas

petitions of aliens’ challenging their orders of removal.”).

         In light of this legislation, and binding Fifth Circuit jurisprudence, the undersigned

finds that this court lacks jurisdiction to consider petitioner’s habeas corpus petition

which challenges his removal order.7

         Likewise, to the extent that petitioner is challenging the execution of the removal

order issued against him, this court lacks jurisdiction to grant petitioner such relief. INA

§ 242(g) deprives this court of jurisdiction to consider any claim which arises out of the

Attorney General’s decision to commence, adjudicate, or execute a removal order. Li v.

Agagan, 2006 WL 637903, *3-4 (5 th Cir. 2006) (“Appellant essentially seeks review of

the decision to execute a removal order against him, a request which § 1252(g) precludes

the court from exercising jurisdiction.”).

         Although petitioner asserts that habeas jurisdiction remains available to him

because he has no other available judicial forum to assert his claims because his Motion

         7
           Further, because this petition was filed after the enactment of the REAL ID Act of 2005, the transfer
provision found in § 106(c) of the REAL ID Act is not applicable to this case. See Chen v. Gonzalez, 435 F.3d 788,
790 (7 th Cir. 2006).
          Section 106(c) of the Real ID Act states as follows:
(c) TRANSFER OF CASES.--If an alien's case, brought under section 2241 of title 28, United States Code, and
challenging a final administrative order of removal, deportation, or exclusion, is pending in a district court on the
date of the enactment of this division, then the district court shall transfer the case (or the part of the case that
challenges the order of removal, deportation, or exclusion) to the court of appeals for the circuit in which a petition
for review could have been properly filed under section 242(b)(2) of the Immigration and Nationality Act (8 U.S.C.
1252), as amended by this section, or under section 309(c)(4)(D) of the Illegal Immigration Reform and Immigrant
Responsibility Act of 1996 (8 U.S.C. 1101 note). The court of appeals shall treat the transferred case as if it had been
filed pursuant to a petition for review under such section 242, except that subsection (b)(1) of such section shall not
apply.

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to Reopen would be deemed abandoned or withdrawn upon his deportation, that is clearly

not the case. Since the filing of this petition, the Immigration Court has granted

petitioner’s request to reopen his deportation proceedings and accordingly, will consider

petitioner’s claims at the hearing which has been scheduled in his case. Petitioner will

then be able to appeal any adverse decision to the BIA and thereafter seek judicial review

of that decision in the United States Court of Appeal for the Ninth Circuit, a fact which

petitioner’s acknowledges in his pleadings. [See rec. doc. 1, pg. 10-11]. Thus, judicial

review remains available to petitioner.

         Moreover, the rule on which petitioner relies, announced in Immigration &

Naturalization Serv. v. St. Cyr, 533 U.S. 289, 121 S.Ct. 2271, 150 L.Ed.2d 347 (2001),

has been superceded by the REAL ID Act. See Balogun, 425 F.3d at 1359-1360;

Medellin Reyes v. Gonzales, 435 F.3d 721, 723 (7 th Cir. 2006) (noting that unlike the

portion of St. Cyr concerning the use of § 2241 to obtain review by district courts, St.

Cyr’s holding regarding the availability of § 212(c) relief to aliens whose convictions rest

on pre-enactment guilty pleas has not been affected by intervening legislation.).

         Petitioner also requests that this court order the respondents to permit petitioner to

re-enter the United States, at the government’s expense “on the ground that he was

prematurely and summarily deported by the Respondents in this case.” He cites no

authority for this proposition, nor has the undersigned found any such authority.8




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           Petitioner summarily concludes that “the government will be required to return petitioner to the United
States” in the event that the Immigration Court reaches the merits of his Motion to Reopen and that “there is no
reason to doubt that petitioner should be ordered to return ....” [see rec. doc. 1, pg. 11; rec. doc. 4, par 5].



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        Petitioner attempts to characterize the instant request as a separate motion for

mandamus or mandatory injunctive relief, not dependant on review of petitioner’s

deportation order. However, regardless of how petitioner describes his claim, it is clear

that petitioner’s request cannot be separated from petitioner’s request for review of his

deportation order. To the contrary, plaintiff’s request cannot be granted without an

inquiry into the validity of the deportation order and propriety of the government’s actions

in executing that order. Indeed, the sole ground for exercise of this court’s jurisdiction

asserted by petitioner is the purported illegality of the entry and execution of petitioner’s

deportation order. In light of the above, this court lacks jurisdiction to consider

petitioner’s request regardless of the provision of law under which the request is asserted.

See 8 U.S.C. § 1252(a)(5); 8 U.S.C. § 1252(g).

        Furthermore, this court’s research reveals that the process for a deported alien to

obtain re-entry prior to completion of the requisite statutory time period for admission is

delineated in the Code of Federal Regulations, and that the decision on such requests is

committed to the sound exercise of the Attorney General’s discretion.

        An alien who attempted or succeeded in illegally entering the United States is

deemed inadmissible. Such an alien removed from the United States is prohibited from

re-entering the country for a period of at least five years unless he receives permission to

return from the Attorney General.9 See INA § 212(a)(9)(A)(ii) and (iii); 8 U.S.C.

1182(a)(9)(A)(ii) and (iii); 8 C.F.R. 212.2. An alien who would like not to have to wait

the full period must comply with the procedures set forth in the Code of Regulations.

        9
         Pursuant to the HSA, the Attorney General’s authority to grant a request for permission to reapply for
admission is now vested in the DHS. See In re Torres-Garcia, 23 I & N Dec. 866, 2006 W L 205417 (BIA 2006).

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Those procedures require the alien to seek permission from the Attorney General to

reapply for admission early by filling out a Form I-212 (Application for Permission to

Reapply for Admission into the United States after Deportation or Removal) and

submitting it to an American consular officer or district director.10 8 C.F.R. 212.2. If the

I-212 is approved, the alien’s inadmissibility is waived, and he is no longer barred from

applying for entry to the United States. The legal effect of such a waiver is identical to the

alien having waited out the full statutory time period in the alien’s home country. The

alien may then request a visa from the State Department, but he may not legally enter the

United States until the visa request is granted. Approval of an alien’s I-212 makes him

admissible; it does not make him admitted. See Berrum-Garcia v. Comfort, 390 F.3d

1158, 1165 (10 th Cir. 2004).

         Whether a Form I-212 waiver is granted is committed to the discretion of the

Attorney General. See Dragon v. INS, 748 F.2d 1304, 1306 (9 th Cir. 1984) ( noting that

an alien who seeks to reapply for admission has the burden of establishing that he or she

merits a favorable exercise of discretion); Lopez-Flores v. Department of Homeland

Security, 387 F.3d 773, 777 (8 th Cir. 2004) (noting that an applicant is not automatically

entitled to a waiver under § 212.2, but that the regulation provides “the possibility of

receiving such discretionary relief”); Zhicay v. Secretary Department of Homeland

Security, 2005 WL 3180188, *4 (D.Conn. 2005) citing Perez-Gonzalez v. Ashcroft, 379

F.3d 783, 788 (9 th Cir. 2004), abrogated on other grounds, Gonzalez v. Department of



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            Aliens seeking adjustment of status must file an I-212 at the time the time the application for adjustment
of status is filed and the approval of the I-212shall be deemed retroactive to the date on which the alien embarked or
re-embarked at a place outside the United States. 8 C.F.R. 212.2 (e) and (i) (2).

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 Homeland Security, 508 F.3d 1227 (9 th Cir. 2007) (“Ordinarily, we lack jurisdiction to

 review the INS's discretionary determination of whether to grant a Form I-212 waiver to

 an applicant for adjustment of status under INA § 245”); Dashto v. I.N.S., 59 F.3d 697,

 703 (7th Cir.1995)(“Both the waiver [pursuant to § 212] and the adjustment of status are

 matters committed to the Board's discretion”); Soto-Sosa v. Attorney General, 154

 Fed.Appx. 141, 146 (11 th Cir. 2005) (repeatedly noting that the waiver to reapply for entry

 is discretionary).

        Habeas review does not extend to review of discretionary matters like the one at

 issue herein. See Li v. Agagan, 2006 WL 637903, *4 (5 th Cir. 2006); Landry v. Chertoff,

 2007 WL 2007996, *1 (E.D.La. 2007) citing 8 U.S.C. § 1252(a)(2)(B)(i) and (ii).

 Moreover, because the discretionary waiver at issue herein may allow petitioner to escape

 his apparent statutory ineligibility for admission and because an agency should have the

 first opportunity to interpret and apply its own regulations, especially those involving

 such a degree of discretion, it is appropriate for this court to allow petitioner’s claims to

 be resolved in his reopened deportation proceeding. See Lopez-Flores, 387 F.3d at 777.

        In sum, this court has found that it lacks habeas corpus jurisdiction to adjudicate

 petitioner’s claims which are directed at petitioner’s deportation order and subsequent

 deportation. Moreover, because there is a procedure whereby petitioner may gain the

 relief which he is requesting, mandamus jurisdiction, which requires that the party has no

 other remedy, is foreclosed. Landry, 2007 WL 2007996, at *2 citing Jones v. Alexander,

 609 F.2d 778, 781 (5 th Cir. 1980). Furthermore, because the relief at issue is discretionary,

 exercise of this court’s mandamus jurisdiction is not appropriate because the respondents


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 do not owe petitioner a clear non-discretionary duty. Li, 2006 WL 637903 at *4 citing

 Dunn-McCambell Royalty Interest, Inc. v. Nat'l Park Serv., 112 F.3d 1283, 1288 (5th

 Cir.1997) (holding that in order for mandamus to issue, the party seeking the writ had to

 demonstrate a “legal duty that is a specific, ministerial act, devoid of the exercise of

 judgment or discretion.”).

        For the reasons set forth above;

        IT IS RECOMMENDED that this habeas corpus petition be DISMISSED for

 lack of jurisdiction.

        Under the provisions of 28 U.S.C. § 636(b)(1)(C), the parties have ten (10)

 business days from receipt of this Report and Recommendation to file any objections with

 the Clerk of Court. Timely objections will be considered by the district judge prior to a

 final ruling.

        FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS AND RECOMMENDATIONS CONTAINED IN THIS REPORT

 WITHIN TEN (10) BUSINESS DAYS FROM THE DATE OF ITS SERVICE

 SHALL BAR AN AGGRIEVED PARTY FROM ATTACKING ON APPEAL,

 EXCEPT UPON GROUNDS OF PLAIN ERROR, THE UNOBJECTED-TO

 PROPOSED FACTUAL FINDINGS AND LEGAL CONCLUSIONS ACCEPTED




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 BY THE DISTRICT COURT.

         THUS DONE AND SIGNED in Chambers at Lafayette, Louisiana, February 1,

 2008.




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